Case 1:24-cv-01457-RLY-KMB            Document 16         Filed 01/10/25      Page 1 of 2 PageID #: 79




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

   Wendy Cain,

           Plaintiff,

   v.                                                        Cause No. 1:24-cv-1457-RLY-KMB

   chamberlain university llc,

           Defendant.

                               2 ND JOINT STAT US RE PO RT

        As required by the Order Granting Joint Motion to Stay Pending Arbitration [Dkt. 14], the parties

  respectfully this Joint Status Report. The parties have begun the arbitral process through the

  american arbitration association. The parties anticipate that arbitration will proceed

  in an orderly fashion under the aaa’s procedures.

                                        Respectfully submitted,

  /s/ Benjamin C. Ellis                                  /s/ Molly Bruder Fox (w/ permission)
  Benjamin C. Ellis                                      Molly Bruder Fox
  hkm employment attorneys llp                           steptoe llp
  320 N. Meridian St., Ste. 615                          1330 Connecticut Ave. NW
  Indianapolis, IN 46204                                 Washington, DC 20036
  P/F     | (317) 824-9747                               Phone | (202) 429-8157
  Email | bellis@hkm.com                                 Email | mbfox@steptoe.com

  Counsel for Plaintiff Wendy Cain
Case 1:24-cv-01457-RLY-KMB   Document 16   Filed 01/10/25   Page 2 of 2 PageID #: 80




                                           John D. Waller, IN #17600-49
                                           Andrew D. Dettmer, IN #35202-49
                                           dinsmore & shohl llp
                                           One Indiana Square, #1800
                                           Indianapolis, IN 46204-4208
                                           Phone | 317/639-6151
                                           Fax    | 317/639-6444
                                           Email | John.Waller@Dinsmore.com
                                                    Andrew.Dettmer@Dinsmore.com

                                           Counsel for chamberlain university llc




                                                                           2
